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                                         January 3, 2025

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722


               Re:     FIRST MOTION TO CONTINUE SENTENCING
                       United States v. George Santos, No. 23-cr-197 (S-2) (JS)


Dear Judge Seybert:

         We represent George Santos in the above-referenced matter and write to respectfully
request an adjournment of the sentencing currently scheduled for February 7, 2025. This is our
first request to continue sentencing. In accordance with the Court’s individual rules, we propose
the following alternative dates: Friday, August 8, 2025; Friday, August 15, 2025; or Friday,
August 22, 2025. The government stated that it objects to any request to adjourn sentencing.
Pretrial indicated that it takes no position with respect to this request and noted that Mr. Santos
remains in perfect compliance with this pretrial release conditions.

         The primary basis for this request stems from Mr. Santos’ demonstrated commitment to
fulfilling his substantial financial obligations under the August 15, 2024 Plea Agreement (“PA”),
which requires restitution in the amount of $373,749.97 (PA at ⁋ 7) and a Forfeiture Money
Judgment in the amount of $205,002.97 (PA at ⁋ 8). Mr. Santos is required to pay the Forfeiture
Money Judgment, in full, thirty days in advance of sentencing (PA at ⁋ 9; D.E. 107). As
discussed during our change of plea hearing on August 19, 2024, we reasonably expected Mr.
Santos to be able to generate sufficient income prior to sentencing that would allow Mr. Santos
to pay the full restitution amount before sentencing. The defense maintains that the initial
$205,002.97 which would be paid toward the Forfeiture Money Judgment should be credited
against the restitution ultimately imposed by the Court, thereby preventing the imposition of a
double penalty.

       In late August 2024, Mr. Santos secured a promising revenue stream through his weekly
podcast, “Pants on Fire with George Santos.” While technical and logistical impediments
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delayed the podcast’s launch until December 15, 2024—as detailed in the enclosed Declaration
of Matt Sprouse, President of YW Productions—Mr. Santos now has a viable path to making
meaningful progress in satisfying his obligations, requiring only additional time for the quarterly
compensation structure to generate sufficient funds.

        We conferred with the Government regarding a six-month adjournment; however, the
Government now objects, despite earlier representations that we interpreted as signaling that it
would consider such a request. Notably, this objection conflicts with the Government’s consent
to adjournments in related matters, including United States v. Nancy Marks, 23-cr-197 on two
occasions (Electronic Orders dated March 4, 2024, and September 9, 2024) and United States v.
Sam Miele, 23-cr-327 on three occasions (D.E. 29, dated April 5, 2024; D.E. 31, dated June 27,
2024; and the Electronic Order dated October 24, 2024). Its current opposition is puzzling.

         Several additional factors support this request:

      1. Mr. Santos has maintained perfect compliance with all pretrial release conditions, as
         confirmed by Pretrial Services, which takes no position on this request;

      2. The defense requires additional time to compile comprehensive sentencing materials,
         including numerous character letters from supporters who have expressed their desire to
         address the Court; and

      3. The requested extension serves the interests of justice by maximizing victim restitution
         without prejudicing the Government, as Mr. Santos has already accepted responsibility
         through his guilty plea, consented to forfeiture, and the Court has So Ordered the Order
         of Forfeiture (see D.E. 107).

        Accordingly, we respectfully request that the Court adjourn Mr. Santos’ sentencing to
one of the proposed dates above, or another date convenient to the Court.

       We appreciate Your Honor’s consideration of this request and are available to provide any
additional information the Court may require.


                                               Sincerely,




                                               Andrew Mancilla, Esq.
                                               Robert Fantone, Esq.
                                               Joseph Murray, Esq.

Enclosure (Declaration of Matt Sprouse)

cc:      All Parties (by ECF)
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
  UNITED STATES OF AMERICA,

           -v-
                                                              23-197 (S-2) (JS) (AYS)
  GEORGE ANTHONY DEVOLDER SANTOS,

                                  Defendant.



                             DECLARATION OF MATT SPROUSE

       I, Matt Sprouse, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 as

follows:

       1.        I am over the age of eighteen and fully competent to make this Declaration.

       2.        I am the President of York and Wilder as well as the subsidiary YW Productions

Inc., the production company responsible for creating the podcast entitled “Pants on Fire With

George Santos” hosted by George Santos. I have personal knowledge of the facts set forth below.

       3.        On or about August 22, 2024, Mr. Santos and YW Productions entered into a

contract for the production of the weekly podcast Pants on Fire With George Santos. Leading up

to this agreement, based on our then-projected production timeline, we anticipated that the first

episode would be recorded and released as early as September 2024.

       4.        Unfortunately, securing a studio space proved more difficult than we anticipated

and since we were in the midst of transitioning to a new office space, we were unable to utilize

our office. In addition, we had to prepare the studio space for the production (set design

technical build-out for production purposes). Because of these logistical challenges, our studio

was not fully operational until mid-October 2024. Consequently, the first episode of the Pants

on Fire With George Santos podcast did not air until Sunday, December 15, 2024.
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       5.      Following the first episode’s release, new episodes have been airing weekly for

the first season, which spans a series of episodes (10 have been recorded and we anticipate a total

of 40 episodes for this season). Since its launch, the Pants on Fire With George Santos podcast

has shown promising growth in listenership. We project that advertising revenue will begin

generating meaningful income starting this spring. Under the terms of our contract, Mr. Santos’s

earnings from the podcast are disbursed quarterly.

       6.      Mr. Santos’s involvement in the podcast is integral to its ongoing success and to

the fulfillment of our contractual obligations. Because the show began later than planned, Mr.

Santos’s continued participation is particularly important at this stage, both to maintain

continuity for the existing audience and to support the anticipated advertising commitments that

will begin in the upcoming months. An adjournment of sentencing would allow Mr. Santos to

continue contributing to the podcast’s operations during this critical growth period, thereby

ensuring that the project can meet its contractual and financial obligations, which includes

paying Mr. Santos his due compensation.

       7.      I thank the Court for its consideration.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 3, 2025
       New York, New York
                                              __________________________________
                                              Matt Sprouse
                                              President, York and Wilder / YW Productions Inc.
